Case: 5:22-cv-01454-CEH Doc #: 1-10 Filed: 08/15/22 1 of 4. PagelD #: 36

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W24/2024

¢ Gmail

Gait - Order #1405 candied

N

Karl Forsell <Horco@amait.com>

Order #1405 confirmed

t message

To: frsl@timinet

FPGA Land

13 June 2018 at 10:48

ORDER #1405

Thank you for your purchase!

Hi Carl, we're getting your order ready to be shipped. We will notify you when it
has been sent.

Order summary

RAM) x 52
16G8

Customer information

Shipping address

Cart Forsell

Nonce Ple Lid

8 St Martin’s Dr

#03-21 St Martin Residence
Singapore 258005
Singapore

Shipping method
Worldwide

or Visit our store

BCU1525 ~ Blockchain Edition (With Mods &

$187,200.00

Subtotal $187,200.00
Shipping $773.09
$187,973.09 USD

Billing address

Carl Forsell

Nonce Pte Ltd

& St Martin's Dr

#03-21 St Marlin Residence
Singapore 258005
Singapore

Payment method
Bank deposit — $187,973.09

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HAV Gmail - Order #405 confirmed

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li you have any questions, reply to Gis email or contact us al sales@fpga.land

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t Data 1 14 dune 2028

i Currency 1 USD {US DOLLARS

: Amount ‘ 4187,973, 094

SOK; Ordering Cugtomer-Name £ Address

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